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            Exhibit 2
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       24TH JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                    STATE OF LOUISIANA


DOCKET NO.                                                                                                    DIVISION "_"


                               THE PARISH OF JEFFERSON


                                                      VERSUS


  EQUITABLE PETROLEUM CORPORATION, EXXON MOBIL CORPORATION,
  GRAHAM EXPLORATION, LTD.,THE LOUISIANA LAND AND EXPLORATION
 COMPANY LLC MARYLAND),
              (         BEPCO,L.P.,CHEVRON A
                                           U.S.HOLDINGS INC.,
CHEVRON A.
        U.S.INC.,VINTAGE PETROLEUM, LLC,BABY OIL,INC, SHELL OIL
 COMPANY, UNION OIL COMPANY OF CALIFORNIA,THE TEXAS COMPANY,
                          AND CHEVRON PIPE LINE COMPANY


FILED:
                                                                                                       DEPUTY CLERK



                                 PETITION FOR DAMAGES
                                                       TO THE
                           JEFFERSON PARISH COASTAL ZONE


       NOW INTO COURT come plaintiffs, through undersigned counsel, to allege the

following:



                          PARTIES PLAINTIFF AND DEFENDANT



                                                                  1.


       The Plaintiffs are: 1)the PARISH OF JEFFERSON, and 2
                                                          ( )the State of Louisiana ex

rel. PARISH OF JEFFERSON. The Parish of Jefferson is a local government of this State that

has been authorized as of January 4, 1985 to operate an approved Local Coastal Zone

Management Program pursuant to La. R.S.214.28. As shown more fully below, the Parish of

Jefferson is authorized by state statute to bring appropriate actions on its own behalf and in the

name of the State of Louisiana for enforcement of the State and Local Coastal Resources

Management Act of 1978, as amended L
                                   ( a.R.S.214.21, et seq.,hereinafter, the CZM
                                                                            "   Act of
1978 "),   and the applicable regulations, rules, orders and ordinances promulgated or adopted

thereunder by the State or Jefferson Parish, as amended hereinafter, collectively and together

with the CZM Act of 1978,the CZM
                             "   Laws ").




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                                                                 2.


      Made   defendants     herein       are         the         following                 entities       hereinafter, collectively,

Defendants "):



      EQUITABLE PETROLEUM CORPORATION Equitable ") is a Delaware
      Corporation having its principal business office in Metairie, Louisiana, and its
      registered agent, Michael L. McDonald, at 3500 N. Causeway Blvd.,Ste. 410,
      Metairie, LA 70002;

      EXXON MOBIL CORPORATION is a foreign corporation whose registered
      agent, Corporation Service Company, is located at 320 Somerulos St.,Baton
      Rouge, LA 70802. Exxon Mobil Corporation is named as successor in interest to
      Exxon Corporation, The Superior Oil Company, and Humble Oil and
      Refining Co.;

      GRAHAM       EXPLORATION, LTD. Graham
                                     ( "    Exploration "), previously named
      Graham Exploration Corporation, is a domestic corporation, incorporated under
      the laws of Louisiana, and domiciled in Baton Rouge, Louisiana. Graham
      Exploration, LTD.'s registered agent, C T Corporation System, is located at 5615
      Corporate Blvd.,STE. 400B, Baton Rouge, LA 70808. Graham Exploration,
      LTD. is named as successor in interest to Graham Oil and Gas, LTD.;

      THE    LOUISIANA          LAND            AND              EXPLORATION                              COMPANY         LLC
      MARYLAND) is a foreign company whose registered agent, Corporation
      Service Company, is located at 320 Somerulos St.,Baton Rouge, LA 70802.
      LL E
         &    is   named   as   successor            in      interest            to      The           Louisiana   Land   and
      Exploration Company;

      BEPCO, L.P. is a foreign partnership whose registered agent, C T Corporation
      System, is located at 5615 Corporate Blvd.,Ste. 400B, Baton Rouge, LA 70808.
      BEPCO, L.P.is named as successor in interest to Richardson & Bass LA
                                                                        (  Acct),
      Perry R.Bass, and Perry R.Bass, Inc.;

      CHEVRON U.   A.S.HOLDINGS INC. is a foreign corporation whose registered
      agent, Angie Wang c/o ChevronTexaco, is located at P.O. Box 6028, San Ramon,
      CA 94583. Chevron A. U. S.Holdings Inc. is named as successor in interest
      Texaco Inc.;

      CHEVRON A.    U.S.INC. is a foreign corporation whose registered agent, The
      Prentice Hall
               -    Corporation System, Inc.,is located at 320 Somerulos St.,Baton
      Rouge, LA 70802. Chevron A.U.  S.Inc. is named as successor in interest to The
      California Company;

      VINTAGE PETROLEUM, LLC is a foreign company whose registered agent,
      The Corporation Trust Company, is located at Corporation Trust Center, 1209
      Orange St.,Wilmington, DE 19801. Vintage Petroleum, LLC is successor in
      interest to Vintage Petroleum,Inc.;

      BABY OIL, INC. is a domestic corporation incorporated under the laws of
      Louisiana and domiciled in Lockport, Louisiana, whose registered agent, Neil
      Suard, is located at 311 North Barrios St.,Lockport, LA 70374;

      SHELL OIL COMPANY is a foreign corporation whose registered agent, C T
      Corporation System, is located at 5615 Corporate Blvd.,Ste. 400B, Baton Rouge,
      LA 70808;



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          UNION OIL COMPANY OF CALIFORNIA is a foreign corporation whose
          registered, Corporation Service Company, is located at 320 Somerulos St.,Baton
          Rouge, LA 70802. Union Oil Company of California is named as successor in
          interest to Union Exploration Partners, Ltd.;

          THE TEXAS COMPANY is a foreign corporation whose registered agent, The
          Prentice Hall
                   -    Corporation System, Inc.,is located at 320 Somerulos St.,Baton
          Rouge, LA 70802; and

          CHEVRON PIPE LINE COMPANY is a foreign corporation whose registered
          agent, The Prentice Hall
                              -    Corporation System, Inc.,is located at 320 Somerulos
          St.,Baton Rouge, LA 70802. Chevron Pipe Line Company is named as
          successor in interest to Gulf Refining Company.



                    AREAL EXTENT OF COMPLAINED OF
                                               -  OPERATIONS



                                                                          3.


          In general, Plaintiffs allege below that certain of Defendants' oil and gas exploration,

production and transportation operations associated with the development of the Little Lake and

Little   Temple   Oil & Gas Fields in Jefferson Parish were conducted in violation of the CZM Laws


and that these activities caused substantial damage to land and waterbodies located in the

Coastal Zone hereinafter so called),as defined by the CZM Act of 1978, within Jefferson

Parish. A map of the entire Louisiana Coastal Zone is attached hereto as Exhibit A .


          In the detailed allegations that follow, the term                                         Operational Area hereinafter so

called) is used to describe the geographic extent of the area within which the complained of
                                                                                          -

operations and activities occurred. On information and belief, the areal extent of the Operational

Area is identified on the maps contained in Exhibit B attached hereto.



  JURISDICTION,VENUE, AND STATUTORY AND REGULATORY FRAMEWORK


                                                                          4.


          The CZM Act of 1978 states that it is the public policy of the state t]
                                                                               "[ o protect, develop,

and where      feasible,   restore   or     enhance the                    resources               of the state's coastal zone." La.


R.S.22(
    49:
      214.),
      1




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                                                                     5.


       Louisiana's Coastal Zone is specifically defined in La. R.S.24(
                                                                   49:
                                                                     214.).
                                                                     5   See Exhibit A .

The Coastal Zone includes the
                          "   coastal waters and adjacent shorelands within the boundaries of

the coastal   zone ...."     The term coastal
                                      "       waters"includes bays,
                                                              "     lakes, inlets, estuaries, rivers,

bayous, and other bodies of water within the boundaries of the coastal zone which have

measurable seawater content under normal weather conditions over a period of years)."La.

R.S.23(
    49:
      214.).
      4



                                                                     6.


       The Operational Area is located in Jefferson Parish and within the Coastal Zone, and

therefore certain activities within the Operational Area are governed by the CZM Laws.



                                                                     7,


       The CZM Laws regulate certain uses" within the Coastal Zone. La. R.S.30
                                                                            49:
                                                                              214.

states that n]
            "[ o person shall commence a use of state or local concern without first applying for

and receiving a coastal use permit."A map of the coastal use permits known to have been issued

for work within the Operational Area is attached hereto as Exhibit C .A list of those coastal use

permits is attached hereto as Exhibit D . The term use"
                                                   "   is defined at La. R.S.23(
                                                                             49:
                                                                               2
                                                                               114.
                                                                                 3)as

any use or activity within the coastal zone which has a direct and significant impact on coastal

waters."Uses of state concern"are defined as:



              Those uses which directly and significantly affect coastal waters and
       which are in need of coastal management and which have impacts of greater than
       local significance or which significantly affect interests of regional, state, or
       national concern. Use of state concern shall include, but not be limited to:

                  a) Any dredge or fill activity which intersects with more than
                  one water body.

                  b)       Projects involving use of state owned lands or water
                  bottoms.




                  f)       All mineral activities, including exploration for, and
                  production of oil, gas, and other minerals, all dredge and fill uses
                  associated therewith, and all other associated uses.




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               g)     All pipelines for the gathering, transportation                                                 or
               transmission of oil,gas and other minerals.

               h)     Energy facility siting and development."

       La.R.S.1)).
              49:
              25(
                214.
                A  )(



                                                                  8.


       Uses of local concern"are defined as:



              Those uses which directly and significantly affect coastal waters and are
       in need of coastal management but are not uses of state concern and which should
       be regulated primarily at the local level if the local government has an approved
       program. Uses of local concern shall include,but not be limited to:

               a)     Privately funded projects which are not uses of state concern.



               c)     Maintenance of uses of local concern.




               e)     Dredge or fill projects not intersecting more than one water body.



               i) Maintenance dredging.



               k)     Uses on cheniers, salt domes, or similar land forms."

       La.R.S.2)).
              49:
              25(
                214.
                A  )(



                                                                  9.


       Enforcement of the CZM Laws is within the authority, inter alia, of an appropriate

district attorney or a local government with an approved program. La. R.S.36D.
                                                                          49:
                                                                            214. The

Parish of Jefferson, having obtained approval of its Coastal Zone Management Program from the

Secretary   of the Louisiana   Department           of Natural Resources                                hereinafter, the   LDNR ") on


January 4, 1985 is a l"ocal government with an approved program" within the meaning of the

CZM Laws. See La.R.S.23(
                     49:
                       214.)
                       8   and La.R.S.28.
                                      49:
                                        214.




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                                                                  10.


       Paragraph D of La. R.S.36
                              49:
                                214. states that t]
                                                  he secretary of the LDNR],the

attorney general, an appropriate district attorney, or a local government with an approved

program may bring such injunctive, declaratory, or other actions as are necessary to ensure that

no uses are made of the coastal zone for which a coastal use permit has not been issued when

required or which are not in accordance with the terms and conditions of a coastal use permit."

Accordingly, the Parish of Jefferson is authorized under the provisions of La. R.S.36
                                                                                   49:
                                                                                     214.to

bring appropriate actions in its own behalf and in the name of the State of Louisiana for

enforcement of the CZM Laws. Plaintiffs are empowered to bring declaratory, civil damages, or

other actions as are necessary to ensure that no uses of state or local concern a
                                                                                " re made of the

coastal zone for which a coastal use permit has not been issued when required or which are not in

accordance with the terms and conditions of a coastal use permit."La. R.S.36(
                                                                          49:
                                                                            214.);
                                                                            D   La.

R.S. 16:21).




                                                                  11.


       Paragraph E of La. R.S.36
                              49:
                                214. states that a]court may impose civil liability and

assess damages; order,where feasible and practical, the payment of the restoration costs; require,

where feasible and practical, actual restoration of areas disturbed; or otherwise impose

reasonable and proper sanctions for uses conducted within the coastal zone without a coastal use

permit where a coastal use permit is required or which are not in accordance with the terms and

conditions of a coastal use permit. The court in its discretion may award costs and reasonable

attorney's fees to the prevailing party."



                                                                  12.


       Paragraph G of La. R.S.36
                              49:214. states that a]
                                                   ny action pursuant to this Section...

must be brought in any parish in which the use or activity is situated."



                                                                  13.


       Venue for this action in this district is proper under La. R.S.36(
                                                                      49:
                                                                        214.).
                                                                        G   Plaintiffs are

the proper parties to bring the causes of action set forth herein pursuant to La.R.S.36(
                                                                                     49:
                                                                                       214.).
                                                                                       D


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                                                                   14.


       Defendants have engaged in uses of state and local concern in Jefferson Parish within the

Operational Area in violation of La.R.S.21,
                                        49:
                                          214.et seq.



                                                                   15.


       The Louisiana CZM Laws require the secretary of the LDNR to develop a coastal

management program and guidelines to further the policies and goals of La. R.S.21,
                                                                               49:
                                                                                 214. et

seq. The adopted guidelines shall be followed in the development of the state program and local

programs and shall serve as criteria for the granting, conditioning, denying, or modifying of

coastal use permits. One of the goals of the guidelines is the careful consideration of the

impacts of uses on water flow,circulation, quantity, and quality and require that the discharge or

release of any pollutant or toxic material into the water or air of the coastal zone be within all

applicable limits established by law, or by federal, state, or local regulatory authority." La.

R.S.27(
    49:
      214.).
      3



                                                                   16.


       The state coastal management regulations contemplated by La. R.S.21,
                                                                        49:
                                                                          214. et seq.,

are codified at LAC 700,
                    43:I.
                        et seq. These state regulations provide that coastal use permits

required by La. R.S.214.30 are in addition to any other permit or approval required or

established pursuant to any other constitutional provision or statute."LAC 700.
                                                                           43:I.These state

regulations further provide that       m]
                                        ineral and production sites shall be cleared, revegetated,

detoxified, and otherwise restored as near as practicable to their original condition upon

termination of operations to the maximum extent practicable." LAC 719.
                                                                  43:1.
                                                                     M .As discussed

below, Defendants have failed to clear, revegetate, detoxify, and restore the mineral and

production sites and other areas affected by their operations and activities within the Operational

Area to their original condition, as required by LAC 719.
                                                     43:I.
                                                        M .Defendants are liable to

Plaintiffs under the CZM Laws for all damages associated with their failure to adhere to

LAC 719.
    43:1.
       M .




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                                                                    17.


        The coastal zone regulations further require that d]
                                                          "[ rilling and production sites shall be

prepared, constructed, and operated using the best practical techniques to prevent the release of

pollutants or toxic substances into the environment." LAC 719.
                                                          43:I.
                                                             F .These regulations also

require that:


                t] he location and operation of waste storage, treatment, and disposal
                facilities shall be avoided in wetlands to the maximum extent practicable,
                and best practical techniques shall be used to minimize adverse impacts
                which may result from such use.'LAC 715.
                                                    43:I.
                                                       A

                w]  aste facilities located in wetlands shall be designed and built to
                withstand all expectable adverse conditions without releasing pollutants."
                LAC 715.
                    43:I.
                       C .


                w]  aste facilities shall be designed and constructed using best practical
                techniques to prevent leaching, control leachate production, and prevent
                the movement of leachate away from the facility."LAC 715.
                                                                        43:  I.
                                                                             D     .

                a]ll waste disposal sites shall be marked and, to the maximum extent
                practicable, all components of waste shall be identified."LAC 715.
                                                                              43:I.
                                                                                 F .

                w]  aste facilities in wetlands with identifiable pollution problems that are
                not feasible and practical to correct shall be closed and either removed or
                sealed, and shall be properly revegetated using the best practical
                techniques."LAC 715. 43:   1.
                                           G    .

                w]
                 aste shall be disposed of only at approved disposal                                     sites."
                LAC 715.
                    43:I.
                       H .


                r]
                 adioactive wastes shall not be temporarily or permanently disposed of
                in the coastal zone."
                                    LAC 715.
                                        43:I.



        As alleged below,the operations and activities of Defendants within the Operational Area

have resulted in the release of contaminants, pollutants, waste, leachate, and toxic substances

into the environment and away from the operated facilities, all in violation of LAC A
                                                                                    43:
                                                                                      L715.

through I and LAC 719.
                  43:1.
                     F .Furthermore,the drilling and production sites and waste facilities

of Defendants within the Operational Area were not built to withstand all expectable adverse

conditions without releasing pollutants, were not prepared using best practical techniques to

prevent the release of pollutants or toxic substances, and were not designed and constructed to

prevent leaching, control leachate production, or prevent the movement of leachate away from

the facility. Defendants are liable for all damages resulting from their violation of the CZM

Laws.




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                                                                   18.


       Finally, the state coastal zone regulations prohibit the temporary or permanent disposal of

radioactive wastes in the coastal zone. LAC 715.
                                            43:I.The operations and activities of

Defendants in the Operational Area have resulted in the disposal of radioactive materials,

including radium 226, radium 228, and naturally occurring radioactive materials NORM),for

which Defendants are liable.




                                     FACTUAL ALLEGATIONS



                                                                   19.


       Defendants drilled and/or operated numerous oil and gas wells within the Operational

Area. A map showing the oil and gas wells within the Operational Area is attached hereto as

Exhibit E . A list of the oil and gas wells drilled and/or operated by each Defendant is attached

hereto as Exhibit F .The operations and activities of Defendants alleged in this petition to be in

violation of the CZM Laws were conducted or are being conducted) to enable or support the

drilling and operation of the oil and gas wells listed on Exhibit F .



                                                                   20.


       The oil and gas operations and activities of Defendants in the Operational Area included

the construction and use of unlined earthen waste pits, which are simply holes, ponds, or

excavations dug into the ground or marsh. Many of these waste pits have never been closed or

have not been closed in conformance with the state and local CZM Laws and other applicable

state environmental laws and regulations, including Statewide Order 29 B
                                                                       - and the Louisiana

Risk Evaluation/Corrective Action Program RECAP).
                                          (      Current and historical aerial photographs

showing open and/or improperly closed waste pits known to exist within the Operational Area

are attached hereto as Exhibit G .




                                                                   21.


       The use of waste pits in the Operational Area has a direct and significant impact on state

coastal waters located within Jefferson Parish, and thus each such pit required a coastal use




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permit after the enactment of the CZM Act of 1978. To the extent that, contrary to Plaintiffs'

allegations, the use of any such waste pit was legally commenced prior to the enactment of the

CZM Act of 1978, the continued existence of such waste pit following cessation of the

operations supported by it constituted a new use for which a coastal use permit was required. In

addition, the closure of any individual waste pits in the Operational Area would have involved

substantial movement of materials and substantial alteration of the native terrain, and likewise

required a state and/or local coastal use permit. On information and belief, Defendants never

obtained the required state and/or local coastal use permits for the closure and/or postCZM
                                                                                        -

operations of their waste pits in the Operational Area. Additionally, these waste pits and areas

adjacent thereto have never been cleared, revegetated, detoxified, and or
                                                                       / otherwise restored to

their original condition as required by LAC 719.
                                            43:I.
                                               M .
                                                 Furthermore, Defendants have failed to

design and construct their waste pits located in the Operational Area using best practical

techniques to prevent leaching and to prevent the movement of leaehate away from their waste

facilities, as required by LAC 715.
                               43:1.
                                  D .



                                                                   22,


        The Defendants use of waste pits in the Operational Area, and their failures to properly

close those waste pits, to clear, revegetate, detoxify, and return the property affected thereby to

its original condition, and to properly design those waste pits have caused ever increasing

damage to the Jefferson Parish Coastal Zone, for which Defendants are liable under the CZM

Laws.




                                                                   23.


        Defendants have also discharged or disposed of oil field wastes from their waste pits

and/or from their other oil and gas operations directly into the Operational Area. Each incident

involving the discharge of oil field waste, including, without limitation, oil field brines, has a

direct and significant impact on state coastal waters located in Jefferson Parish and constitutes a

use for which a state and or
                          / local coastal use permit was required after the enactment of CZM

Act of 1978 Acts 1978, No. 361). On information and belief, Defendants never obtained the

required state and/or coastal use permits for the discharge of oil field wastes into the Operational


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Area. Additionally, the areas of the Jefferson Parish Coastal Zone that have received such

discharges have never been cleared, revegetated, detoxified, and otherwise restored to their

original condition as required by LAC 719.
                                      43:I.
                                         M .Furthermore, Defendants failed to prevent

the release of pollutants or toxic substances into the environment in accordance with

LAC 719.
    43:I.
       1 and failed to design and construct their waste pits in a manner to prevent

leaching and the resulting discharge wastes, as required by LAC 715.
                                                                43:I.
                                                                   D .
                                                                     Finally,Defendants

knew or should have known that their oilfield wastes contain unacceptable and inherently

dangerous levels of radioactive materials, including Radium 226 and 228, and thus the discharge

of such materials into the Operational Area after 1978 was a flagrant violation of the CZM Laws,

particularly LAC 715.
                 43:I.As a result of these failures, Defendants are liable under the CZM

Laws for damages and the other relief sought herein.



                                                                   24.


       In addition to the use of unpermitted waste pits, the failure to close waste pits properly,

and the unpermitted discharge of oil field waste, including, without limitation, oilfield brines, in

the Operational Area, Defendants' oil and gas activities have caused the Jefferson Parish Coastal

Zone, and in particular the canals, bayous, sediments, marshes, soils, and groundwaters in the

Operational Area, to become contaminated or polluted in excess of applicable state standards,

which has a direct and significant impact on state coastal waters. Each of these uses constitutes a

use for which a coastal use permit was required beginning with the enactment of the CZM Act of

1978. The state coastal zone regulations, at LAC 431700, et seq.,define contaminant"
                                                                        "           as a
                                                                                       "n

element causing pollution of the environment that would have detrimental effects on air or water

quality or on native floral or faunal species." The contamination deposited in the Operational

Area as a result of Defendants' activities has had a detrimental effect on the quality of the

receiving state waters, on plant and animal life, and on humans who are exposed to such

contamination. In addition, Defendants have utilized the Operational Area for the storage of

their pollution or contamination, which likewise is a use for which a state and/or local coastal use

permit has been required since 1978. On information and belief, Defendants never obtained the

required state and/or local coastal use permits for the deposition or storage of contamination or



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pollution in the Operational Area. The areas of the Jefferson Parish Coastal Zone that have been

affected by such pollution or contamination have never been cleared, revegetated, detoxified, and

otherwise restored to their original condition as required by LAC 719.
                                                                  43:I.
                                                                     M .Furthermore,

Defendants have failed to prevent the release of pollutants or toxic substances into the

environment   in   accordance   with       LAC 719.
                                               43:I.
                                                  F .Defendants                                         have   also   allowed   the


accumulation of radioactive materials in the soils and groundwaters of the Operational Area, in

violation of LAC 715.
                 43:I.Defendants are thus liable for their acts of contamination in


violation of the CZM Laws, including La. R.S.36.
                                             49:
                                               214.



                                                                  25,


       Since 1978 and before, Defendants' oil and gas activities have resulted in the dredging of

numerous canals in, through, and across the Operational Area. The dredging of canals in the

Operational Area has a direct and significant impact on the state coastal waters within Jefferson

Parish. On information and belief, Defendants in some instances exceeded the limits of the

coastal use permits issued in connection with the dredging of such canals, and in other instances

failed to obtain the coastal use permits required for the dredging of such canals. Furthermore,

Defendants failed to design, construct and maintain said canals using the best practical

techniques to prevent bank slumping, erosion and saltwater intrusion and to minimize the

potential for inland movement of storm-generated surges in accordance with LAC 705.
                                                                               43:I.
                                                                                  J .
                                                                                    As

a consequence thereof, Defendants' dredging activities have resulted in the degradation of the

Operational Area, including the erosion of marshes and the degradation of terrestrial and aquatic

life therein. Additionally, the destruction of the Jefferson Parish Coastal Zone has increased the

risk of damage from storm -generated surges and other flooding damage, and has enabled and or
                                                                                           /

accelerated saltwater intrusion. Furthermore, Defendants failed to revegetate, refill, clean,

detoxify, and otherwise restore these canals to their original condition as required by

LAC 705.
    43:I,
       N .
         7111 and 719.M.



                                                                  26.


       The above activities of Defendants lie in stark contrast to,and in violation of,the policies

enumerated at LAC 701(
                  43:I),
                     G .
                       which states as follows:


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               It is the policy of the coastal resources program to avoid the following
       adverse impacts ...

                      4)      alterations in the natural concentration of oxygen in coastal
                              waters;

                      5)      destruction or adverse alterations of streams, wetland, tidal
                              passes, inshore waters and waterbottoms, beaches, dunes,
                              barrier islands, and other natural biologically valuable areas
                              or protective coastal features;



                      8)      detrimental changes in existing salinity regimes;

                      9)      detrimental changes in littoral and sediment transport
                              processes;




                      13)     discharges of pathogens or toxic substances into coastal
                              waters;




                      16)     adverse alteration or destruction of unique or valuable
                              habitats, critical habitat for endangered species, important
                              wildlife or fishery breeding or nursery areas, designated
                              wildlife management or sanctuary areas, or forestlands;



                      18)     adverse disruptions                           of coastal                   wildlife   and   fishery
                              migratory patterns;

                      19)     land loss, erosion, and subsidence;

                      20)     increases in the potential for flood, hurricane and other
                              storm damage, or increase in the likelihood that damage
                              will occur from such hazards;

                      21) reduction in the long term biological productivity of the
                          coastal ecosystem.


                                                                  27.


       On information and belief, at least some of the activities of Defendants described above

may have been permitted and/or authorized by the Louisiana Department of Natural Resources,

Office of Conservation   hereinafter, the             LDNROC
                                                          -  ).                             Paragraph B of La. R.S.31
                                                                                                                   49:
                                                                                                                     214.

states that p]
            "[ ermits issued pursuant to existing statutory authority of the office of conservation

in the Department of Natural Resources for the location, drilling, exploration and production of

oil, gas, sulfur or other minerals shall be issued in lieu of coastal use permits, provided that the

office of conservation shall coordinate such permitting actions pursuant to R.S.31(
                                                                                49:
                                                                                  214.)
                                                                                  B   and


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D)and shall ensure that all activities so permitted are consistent with the guidelines, the

state program and any affected local program."Emphasis added). The Memorandum of

Understanding Between the Coastal Management Section of the Department of Natural

Resources and the Office ofConservation ofthe Department ofNatural Resources, dated July 8,

1980, reinforces section La. R.S.31,
                                 49:
                                   214.wherein it states that the LDNROC
                                                                      -  will
                                                                         "    issue in-

lieu permits only if the proposed activity is consistent with the Coastal Use Guidelines, the

Louisiana Coastal Resources Program and affected approved local programs."



                                                                  28.


        To the extent that Defendants operated or conducted activities in the Operational Area

under in lieu" permits authorized or granted by the LDNROC
                                                        -  or another state agency,

Defendants were obligated to comply fully with the CZM Laws in the conduct of such operations

or activities.




                                                                  29.


        Furthermore, Plaintiffs allege that most, if not all, of Defendants' operations or activities

complained of herein were not lawfully
                               "       commenced or established"prior to the implementation

of the coastal zone management program. See LAC B)(
                                                43:
                                                  723(The complained of
                                                  8).                - operations

and activities were prohibited prior to 1978 by various provisions of Louisiana Statewide Orders

29, 29 A,
       - and 29 13,
                - various field wide orders, as well as various orders of the Louisiana Stream

Control Commission.




                                                                  30.


        Defendants are required to comply not only with all applicable state environmental laws

and state regulations, but also with any additional requirements imposed by the State of

Louisiana or Jefferson Parish through the coastal zone management program. Defendants have

failed to comply with numerous provisions of the state coastal zone management program, as

previously alleged, and thus they are liable under the CZM Laws for any damages resulting from

these violations.




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                                                                  31.


       The Defendants are liable for the foregoing violations of the state and local CZM Laws,

including without limitation,the failure to clear, revegetate, detoxify, and restore to their original

condition those portions of the Jefferson Parish Coastal Zone affected by Defendants' activities

within the Operational Area.



                                                                  32.


       The damages, costs, and attorney fees provided by La. R.S.36
                                                                 49:
                                                                   214. are in addition to

any fine,forfeiture, other penalty, or costs imposed under any other provision of law.



                                                                  33.


       Notwithstanding any allegations or language to the contrary contained elsewhere in this

petition, Plaintiffs expressly limit the scope of the claims and allegations of this petition as

follows:



       a)      Plaintiffs allege only those state law causes of action that they have a right to

pursue under La. R.S.21,
                     49:
                       214. et seq.,as amended, and the state and local regulations,

guidelines, ordinances and orders promulgated pursuant thereto and consistent therewith;


       b)      Plaintiffs have not pled, and will never at any time in the future plead, any claim

or cause of action arising under federal law or federal regulations, and assert no such claims

herein; Plaintiffs allege no claims subject to federal question jurisdiction; Plaintiffs do not

pursue or allege any claims or causes of action arising under federal common law;


       c)      To the extent any state law claims alleged in this petition are preempted by federal

law either
    (      expressly or impliedly),such claims are not alleged herein;


        d)     Plaintiffs do not pursue or allege any claims that have been discharged in

bankruptcy;


        e)     Plaintiffs do not pursue or allege any general maritime claims, or any claims

subject to maritime or admiralty jurisdiction 28
                                              ( C.
                                                 U.
                                                  S.1333);
                                                  A    §




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       f)      Plaintiffs do not pursue or allege any claims arising
                                                             "       under the Constitution, laws,

or treaties of the United States";


       g)      Plaintiffs do not allege or pursue any claims wherein their right to relief under any

cause of action necessarily depends on a resolution of a substantial, disputed question of federal

law;


       h)      Plaintiffs do not allege or pursue any claims arising under the Rivers and Harbors

Act of 1899, as amended, or any regulations issued pursuant thereto hereinafter,
                                                                    (            collectively, the

RHA "), and    do not pursue or allege any claims arising under any U.S. Army Corps of

Engineers regulations or permits;


       i) Plaintiffs do not pursue or allege any claims arising under the Clean Water Act of

1972, as amended, or any regulations issued pursuant thereto hereinafter, collectively, the




       j) Plaintiffs do not pursue or allege any claims arising under any federal regulations

of any kind or character whatsoever;


       k)      Plaintiffs do not allege or pursue any claim that any Defendant violated a federal

permit or failed to obtain a federal permit;


       1)      Plaintiffs do not allege that they are third party beneficiaries of any obligation

between Defendants and any governmental body, or that they are third party beneficiaries of any

permitting scheme;


       m)      Plaintiffs do not allege that they are third party beneficiaries of any permit,

contract, or right of way agreement, or other conventional servitude or servitude imposed by law;


       n)      Plaintiffs do not allege that they have the right to enforce a federal permit as a

third party beneficiary;


       o)      Plaintiffs do not allege that they represent any class; further, Plaintiffs do not

pursue or allege any claim over which there is CAFA jurisdiction of this case; Plaintiffs bring



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this action only on their own behalf and not on behalf of any class or group of individuals or

legal entities.


        p)        Plaintiffs do not allege that any acts, omissions, operations or activities occurring

on the Outer Continental Shelf violated the CZM Laws. None of the acts, omissions, operations

or activities that form the basis of the Plaintiffs' claims in this petition involve operations or

activities on the Outer Continental Shelf Plaintiffs do not pursue or allege any claim arising

under the Outer Continental Shelf Lands Act                              the        OCSLA 43
                                                                                          ")( U.
                                                                                              C.
                                                                                               S.           1331 et seg.);

Plaintiffs do not pursue or allege any claim subject to the jurisdiction of the OCSLA; further,

Plaintiffs do no pursue or allege any claim within the jurisdiction established by 43 C.
                                                                                      U.
                                                                                       S.

1349;



        c)        Plaintiffs do not pursue or allege any claim involving federal lands, do not pursue

or allege any claims covered by federal enclave jurisdiction, and do not pursue or allege any

claims regarding any land held in trust by the federal government, its officers, agencies, or

agents; Plaintiffs do not pursue or allege any claims over which the federal government contests

title. Plaintiffs do not pursue or allege any claims for damages to any federal floodwalls, federal

levees, or any other federal installations or properties. Plaintiffs do not allege that any event,

activity, or claim pursued in this petition occurred on a federal enclave. Plaintiffs do not allege or

pursue any claim for an alleged injury in circumstances where the alleged injury arose on a

federal enclave and the injury is indivisible from an injury that did not occur on a federal

enclave.



        r)        Plaintiffs do not allege that any Defendant or Defendants committed a maritime

tort or violated a federal maritime law or regulation;


        s)        Plaintiffs make no claims sounding in general maritime law or admiralty law;

further, Plaintiffs do not seek remediation or other remedies to the extent such remedies will

have a potentially disruptive impact on maritime commerce or activity; Plaintiffs make no claim

herein for the enforcement of any statute or regulation that conflicts with, or is preempted by,

federal maritime law or federal maritime regulations;




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       t)       Plaintiffs make no claims under Louisiana tort law, contract law,mineral law, or

property law;


       u)       Plaintiffs do not allege or pursue any claims that are: 1)covered by or subject to

the jurisdiction of the All Writs Act, 28 C.
                                          U.
                                           S.1651,et seq.,as amended; or, 2)
                                                                           ( covered by or

subject to the jurisdiction of the Convention on the Recognition of Foreign Arbitral Awards,

9 C.
  U.
   S.201, §
          et seq.,as amended. Plaintiffs do not allege or pursue any claims under the

federal Oil Pollution Act of 1990, as amended;


       v)       In summary, Plaintiffs limit the claims asserted in this petition to state law claims

arising under the CZM Laws. The attachment of the map of the entire Louisiana Coastal Zone

See Exhibit A )or the attachment of any other exhibits to this petition shall in no way be

interpreted as an expansion of the scope of the specific state law claims alleged in this petition.

With regard to any permit alleged in this petition to have been violated, the inclusion of language

in such permit referring to federal laws or federal regulations shall in no way be interpreted as an

expansion of the scope of the specific state law claims alleged in this petition. Any allegation in

this petition that any defendant has violated a coastal use permit shall not be construed as an

allegation that any such defendant has violated any federal law or regulation generally or

specifically referenced in the permit or any application therefor. Further, to the extent the CZM

Laws contain any citation of or reference to any federal laws, statutes or regulations, no claims or

causes of action are alleged under those federal laws, statutes or regulations. Any allegation in

this petition that any defendant has violated the CZM Laws shall not be construed as an

allegation that any such defendant has violated any federal laws, statutes or regulations

referenced in the CZM Laws. The quotation or reference in this petition to provisions of certain

CZM Laws concerning uses" of national or regional concern shall not be construed as an

allegation that Plaintiffs are making claims arising under the Constitution, laws, or treaties of the

United States. The use of the term navigation"
                                   "          or such similar terms in the CZM Laws shall not

be construed to imply that Plaintiffs are asserting maritime or admiralty claims.


       w)       Plaintiffs do not plead any claim or cause of action pertaining to private property

located within the Jefferson Parish Coastal Zone: 1)that is the subject of any present or future



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demand for environmental restoration or remediation, regardless of whether the relief demanded

is specific performance, damages or a mandatory or prohibitive injunction; or, 2)that is the

subject of any pending or future litigation under Act 312 of 2006 La. R.S.30:29, et seq.,as

amended).Plaintiffs do not seek injunctive relief. Further, Plaintiffs do not plead any claims

related to any pending environmental statutory or regulatory claims or actions filed or taken by

any federal agency, including, but not limited to, the Environmental Protection Agency and the

U.S.Army Corps of Engineers.



                                                                    34.


        Subject to all of the limitations set forth in this petition, including, but not limited to,

paragraph 33, Plaintiffs Parish of Jefferson and State of Louisiana claim all damages and

remedies appropriate under the CZM Laws, including, but not limited to, restoration and

remediation costs; actual restoration of disturbed areas to their original condition; costs necessary

to clear, revegetate, detoxify and otherwise restore the affected portions of the Jefferson Parish

Coastal Zone as near as practicable to its original condition pursuant to LAC 705.
                                                                              43:I,
                                                                                 N .
                                                                                   71 LF

and 719.M; declaratory relief in circumstances where such relief is required, in addition to

money damages, to accomplish the purposes of La. R.S.21
                                                     49:
                                                       214. et seq.;costs and expenses of

litigation, including costs of environmental assessments and expert costs, and reasonable

attorney's fees; and all other damages or remedies provided for in La.R.S.21,
                                                                          49:
                                                                            214.et seq.



                                                                   35.


       Plaintiffs demand trial by jury.



                                       PRAYER FOR RELIEF


       WHEREFORE, Plaintiffs demand judgment against Defendants subject to the

limitations set forth in this petition),as follows:


       a)      Awarding damages and other appropriate relief specifically provided in the CZM

Laws for violations of all applicable state coastal zone management program statutes and

regulations within the Jefferson Parish Coastal Zone;




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        b)      Ordering the payment of costs necessary to clear, revegetate, detoxify and

otherwise restore the Jefferson Parish Coastal Zone as near as practicable to its original condition

pursuant to LAC 705.
                43:I,
                   N .
                     71 LF and 719.M.


        c)      Requiring actual restoration of the Jefferson Parish Coastal Zone to its original
condition.




        d)      Awarding reasonable costs and attorney fees.


        e)      Awarding pre judgment and postjudgment interest at the maximum rate

allowable by law;


        f)      Such other and further relief available in the premises, subject to the limitations

set forth in the petition.


        g)      Plaintiffs request trial by jury.

                                                Respectfully submitted,

                                                TALBOT,CARMOUCHE &             MARCELLO
                                                17405 Perkins Road
                                                Baton Rouge, LA 70810
                                                Telephone: 25)400 99
                                                                   -
                                                Fax: (     448- 56

                                                     2r
                                                DONALD          OUCHE, ESQ. 2226)(
                                                VICTOR       C LO,ESQ. 9252)
                                                                           (
                                                JOHN H. CARMOUCHE, ESQ. 22294)
                                                                           (
                                                WILLIAM R. COENEN, III,ESQ. 27410)
                                                                               (
                                                BRIAN T.CARMOUCHE, ESQ. 30430)
                                                                             (
                                                TODD J. WIMBERLEY, ESQ. 34862)
                                                                         (
                                                ROSS J.DONNES, ESQ. 33098)
                                                                    (
                                                D.ADELE OWEN, ESQ. 21001)
                                                                    (
                                                LEAH G.COTTON, ESQ. 35092)
                                                                      (

                                                PHILIP F. COSSICH, JR.,ESQ. 1788)
                                                                              (
                                                DARREN SUMICH,ESQ. 23321)
                                                                        (
                                                DAVID A.PARSIOLA, ESQ. 21005)
                                                                          (
                                                BRANDON J.TAYLOR,ESQ. 27662)(
                                                COSSICH, SUMICH,
                                                PARISOLA & TAYLOR,C.
                                                                  L.
                                                                   L.
                                                8397 Highway 23, Suite 100
                                                Belle Chasse, LA 70037 2648
                                                                       -
                                                Telephone: 5
                                                           ( 04)394 9000
                                                                    -
                                                Fax: 504)
                                                     (    394 9110
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                                                         BRUCE D.BURGLASS, JR.,ESQ. 14112)
                                                                                     (
                                                         ANDRE C.GAUDIN, ESQ. 20191)
                                                          SCOTT O. GASPARD, ESQ. 23747)
                                                                                  (
                                                         BURGLASS & TANKERSLEY,LLC
                                                          5213 Airline Drive
                                                         Metairie, LA 70001 5
                                                                            - 602
                                                         Telephone: 504)
                                                                     (    836-0407
                                                         Fax: 504)
                                                               (    287 0447
                                                                        -

PLEASE SERVE THE PETITION FOR DAMAGES


EQUITABLE PETROLEUM CORPORATION
Through its registered agent for service of process:
Michael L.McDonald
3500 N.Causeway Blvd.,Ste. 410
Metairie, LA 70002

EXXON MOBIL CORPORATION
Through its registered agent for service of process:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802

GRAHAM EXPLORATION,LTD
Through its registered agent for service of process:
C T Corporation System
5615 Corporate Blvd.,Ste. 400B
Baton Rouge, LA 70808

THE LOUISIANA LAND AND EXPLORATION COMPANY LLC MARYLAND)
                                                     (
Through its registered agent for service of process:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802

BEPCO,L.
       P.
Through its registered agent for service of process:
C T Corporation System
5615 Corporate Blvd.,Ste. 400B
Baton Rouge, LA 70808

CHEVRON A.
        U.
         S.INC.
Through its registered agent for service of process:
The Prentice Hall
             -     Corporation System, Inc.
320 Somerulos St.
Baton Rouge, LA 70802

BABY OIL,INC.
Through its registered agent for service of process:
Neil Suard
311 North Barrios St.
Lockport, LA 70374

SHELL OIL COMPANY
Through its registered agent for service of process:
C T Corporation System
5615 Corporate Blvd.,Ste. 400B
Baton Rouge, LA 70808


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UNION OIL COMPANY OF CALIFORNIA
Through its registered agent for service of process:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802

THE TEXAS COMPANY
Through its registered agent for service of process:
The Prentice Hall
             -     Corporation System, Inc.
320 Somerulos St.
Baton Rouge, LA 70802

CHEVRON PIPE LINE COMPANY
Through its registered agent for service of process:
The Prentice Hall
             -     Corporation System, Inc.
320 Somerulos St.
Baton Rouge, LA 70802

PLEASE SERVE THE PETITION FOR DAMAGES THROUGH
THE LOUISIANA LONG ARM STATUTE:


VINTAGE PETROLEUM, LLC
Through its registered agent for service of process:
The Corporation Trust Company
Corporation Trust Center
1209 Orange St.
Wilmington, DE 19801

CHEVRON A.
        U.
         S.HOLDINGS INC.
Through its registered agent for service of process:
Angie Wang c/o ChevronTexaco
P.
 O. Box 6028
San Ramon, CA 94583




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                                   EXHIBIT B


                            Map of the Operational Area

                                   Detail View)


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                                                                                    EXHIBIT D


                                       Coastal Use Permits for Work in the Operational Area

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P19800257                      DREDGE FORA SLIP TO DRILL NO. 3 AND 4 LL E
                                                                        & WELLS
 P19800289                     FLOWLINE //FLOWLM // BEGIN:WELL NO 4//
                                                                   END: TANK
                               BATTERY //COMPANY:EQUITABLE // STATUS: AUTHORIZATION
                               GRANTED NO
                                       -  CONDITIONS
                               SL 2383 WELL NO 4 LOCATION -
 P19800356                     DRILL BARGE AND STRUCTURES
 P19810584                     2 3/
                                  8"FUEL GAS LINES // FUEL GAS // LAID ON MARSH //BEGIN:
                               LL E
                                  & NO F 36
                                         -  //END: COMMON TANK BATTERY NO 2
                               COMPANY:EXXON //STATUS: AUTHORIZATION GRANTED -
                               SPECIAL CONDITIONS
                               2 7/8"FLOWLINES // FLOWLINE //LAID ON MARSH //BEGIN: LL E
                                                                                       &
                               NO F 36
                                    -  //END: COMMON TANK BATTERY NO 2 // COMPANY:EXXON
                           F
                                  STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS

                           j PRODUCTION FACILITIES
 P19810638                     DREDGE CHANNEL & WELL SLIP
 P19810862 j WELL KEYWAY STRUCTURE AND MOVE IN BARGE RIG TO DRILL
 P19810920                     SWEEP CANAL AND DREDGE SLIP FOR LL E
                                                                  & NO. A-
                                                                         1
 P19811150                     PROPOSED PIPELINE CROSSING LL E
                                                             & NO. 2

 P19811591                     DREDGE, INSTALL GAS PIPELINE, BACKFILL
 P19811674                     DREDGE CHANNEL AND SLIP FOR OIL & GAS EXPLORATION
 P19820173                     DREDGING AND CONSTRUCTION OF WELL KEYWAY STRUCTURE
 P19820421                     2"GAS SUPPLY LINE //GAS // BURIED 4 FT MINIMUM & ON SURFACE
                               OF MARSH //BEGIN: PROPOSED WELL //END:                                                                    COMPANY:EXXON
                               STATUS: AUTHORIZATION GRANTED - NO CONDITIONS
                               3"FLOWLINE //                           BURIED 4 FT MINIMUM & ON SURFACE OF MARSH
                                  BEGIN: PROPOSED WELL // END: COMMON TANK BATTERY NO 1
                               COMPANY:EXXON //STATUS: AUTHORIZATION GRANTED - NO
                               CONDITIONS

                               FACILITIES TO SERVE LL E
                                                      & WELL NO. F 37
                                                                   -
 P19820792                     INSTALL FLOWLINE
 PI 9820838                    DREDGE CANAL AND SLIP AND LOWER PIPELINE FOR OIL AND GAS
                               DRILLING RIG ACCESS

 P19820912                     4"FLOWLINE // GAS // BURIED 3 FT BELOW LAKE & 5 FT BELOW

                               CANALS // BEGIN: TIE IN
                                                     - VALVE //END: RISER @ TEXACO BARGE
                               COMPANY:TRANSGAS // STATUS: AUTHORIZATION GRANTED -
                               SPECIAL CONDITIONS

                               PIPELINE, LITTLE LAKE AREA
 P19821028 DREDGING CONSTRUCTION
                    &            OF WELL KEYWAY STRUCTURE
 P19821051                     CONSTRUCT WELL KEYWAY STRUCTURES

 P19821183                     DREDGE A BOAT SLIP AND BULKHEAD ALONG THE UPLAND
                               BAYOU BANK
1 -- - - -- --

 P198 21712
      _. -.-                   INSTALL EARTHEN DAM
 P19830198                     SHELL CAPPED EARTHEN DAM
 P 1983 0663                   CONSTRUCT WELL KEYWAY STRUCTURES
 P19831521                     OIL & GAS CHANNEL AND SLIP LL E
                                                             & WELL 42

 P19831542 I DREDGE A CANAL SLIP;
                            /     THOMSON, THOMPSON WRIGHT
                                                    &      ASSOC
                               WELL NO 1.
 PI 9841028                    WELL SITE IN LITTLE LAKE




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    P19841093                       FLOWLINE :EXISTING //Y BELOW CANAL BOTTOM // BEGIN:
                              BERM //END: BERM XING
                                               (    CANAL) //COMPANY:LGS //
                                                                         STATUS:
                              TRANSFERRED TO ENFORCEMENT
                              INSTALL PIPELINE FROM FORMAN 41 S.L. 10795 WELL 41
                              CONSTRUCT EARTHEN PLUG
    P19841220                 DREDGE CANAL BOTTOM, CONSTRUCT EARTHEN AND SHELL
                              PLUG
    P19841                    WELL CRIBB FOR OIL GAS
                                                 /   WELL
    P19841380 I DRILLING BARGE
    P19841532                 DREDGING2
                              MARSH MANAGEMENT PLA ........ ....
                              PROTECTION2
                              WEIR
    P19850572                 2 7/
                                 8"OIL GAS
                                       /   //OIL GAS
                                                 /   //Y BELOW MUDLINE //BEGIN:                                                                                                        END:
                              COMPANY:EQUITABLE // STATUS: AUTHORIZATION GRANTED -
                             j SPECIAL CONDITIONS
                              OIL AND GAS WELL INSTALLATION
    P19850952 3 INSTALL BARGE RIG AND KEY STRUCTURE
    P19850954                 INSTALL DRILLING BARGE, KEYWAY STRUCTURE, DRILL OIL GAS
                                                                                  /
                              WELL

    P19851167                 DREDGE A PARALLEL SLIP AND LOCATE A DRILLING BARGE,
                             CONSTRUCT KEYWAY AT THE WELL SITE
    P19851331                 SITE AN OIL AND GAS WELL IN OPEN WATER BY BARGE
    P198M362                  PLACE STRUCTURES ON LOCATION TO PREPARE FOR OIL AND GAS
                              EXPLORATION AND PRODUCTION
    P19851532 j WEIR
                                                                                                                                                                                            W..........




    P19860289                 REMOVE AND RELOCATE BULKHEAD

i P19860426 j PROPO PIPELINE, SHELLPAD AND STRUCTURE
    P1986045                  PROPOSED WALKWAY TO SERVE SL 11177 NO. 1

    P19860714 j CONSTRUCT WELL PROTECTION STRUCTURE FOR PLACEMENT OF
j                             DRILLING BARGE SL 7014 WELL NO. 1
    P19861008 I PRODUCTION BARGE AND WALKWAY TO SL 2383 WELL NO. 1
    P19861066                 EART DAM & REINFORCE EXISTING
                                                      STING .EART
    P19861076 E DRILLING STRUCTURES AND FLOWLINES FOR DRILL
    P19870294                 MARSH MANAGEMENT PLAN REPAIR DAMNS AND LEVEES
    P19870486                 DREDGING3
                              SPOILI

    P19871299                 PROPOSED HELIPORT
    P19880088                 DRILLING BARGE AND APPURTENANT STRUCTURES INCLUDING
                              PILE CLUSTER AND WELLHEAD PROTECTI
                                                        ON PLATFORM
    P19880336                 PLUG/
                                 G/
                                  DAM
                                    DAM .__..._
                              WEIR

    P19881172 3 6"FLOWLINE //FLOWLINE //REQUIRED DEPTH IN 1968 // BEGIN:
                              END:                         COMPANY:EXXON                                                //STATUS: AUTHORIZATION GRANTED -
                              SPECIAL CONDITIONS
    P19890164                 RESTORE SPOIL BANKS




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 P19900094       2"FLOWLINE //                            3' BELOW MUDLINE //BEGIN: EQUITABLE PETRO,
                 CORP. NO. 22 WELL S L
                                     \ 2453 // END: EXISTING TANK BATTERY
                 COMPANY:EQUITABLE // STATUS: AUTHORIZATION GRANTED -
                 SPECIAL CONDITIONS

                 LOCATE A DRILLING BARGE AT DRILL SITE, INSTALL FLOWLINE
                 TO EXISTING TANK BATTERY
 P19910573 EXCAVATE WATER BOTTOM MATERIAL FROM LITTLE LAKE AND
                 GAS FIELDS

 P19910705       2"FLOWLINE //FLOWLINE // 3' MIN BLW MUDLINE //BEGIN:
                 EXISTING PRODUCTION BARGE // END: PROPOSED PRODUCTION
                 BARGE // COMPANY:HOUMA OPERATING // STATUS:
                 AUTHORIZATION GRANTED - SPECIAL CONDITIONS                                                                             w---          ....__..       --




                 INSTALL FLOWLINES FROM SL 11177 WELL NO. 1 TO PROPOSED
                 PRODUCTION BARGE
 P19910743       ACCESS LL E
                           & F"
                              " LEASE WELL NO 1
                                                                                                                                                                            3



i P19911011      WHEEL WASHING ACTIVITY
 P19920503       12"EXISTING P/L //PIPELINE // 10' BLW ML //BEGIN. EXISTING PT ON
                 LINE //END: PT ON LINE //COMPANY:SOUTHERN NATURAL GAS //
                 STATUS AUTHORIZATION GRANTED SPECIAL CONDITIONS                                                                                                            3




                 DREDGE, CUT AND PLUG A PIPELINE
 P19920589       AFTER-THE FACT
                           -    FOR WHEEL WASHING                                                                            I.....




 P19920850       MOVE ONTO LOCATION AN INLAND BARGE RIG, CONSTRUCT
                 KEYWAY AND INSTALL FLOWLINE
 P19920915       CONSTRUCT HELIPORT TO ACCESS VALVE SITE  W            —..._.




 P19931187       DREDGE A CANAL AND SLIP TO PREPARE THE LOCATION TO MOVE
                 IN A DRILLING BARGE TO DRILL THE S.L. 14009 NO. 1 WELL. WELL
                 PROTECTION STRUCTURE

 P19940055       CONSTRUCT AND MAINTAIN A DRAINAGE PUMP STATION,
                 DREDGING, BACKFILL
 P19950260       2 7/
                    8"FLOWLINE //                                  TOP OF MARSH & 3' BML                                     @ CANAL XING
                 BEGIN: LL E
                           & F 38
                               -  //END: TANK BATTERY NO 1 //
                 COMPANY:VINTAGE PETROLEUM IN // STATUS: AUTHORIZATION
                 GRANTED - SPECIAL CONDITIONS

                 DREDGING FOR A WELL LOCATION, CONSTRUCTION OF A SHELL
                 PAD,PROTECTION STRUCTURE TO SERVE THE LL E
                                                          & NO. F 38
                                                                  - WELL
 P19950971       2 1/
                    2"GAS LIFT LINE // GAS // LAID ON MARSH & 3' BML                                                                             @ CANAL
                 XING //BEGIN: LL E
                                  & F 27
                                      -  //END: LL E
                                                   & J1
                                                      - //COMPANY:VINTAGE
                 PETROLEUM CO // STATUS: AUTHORIZATION GRANTED - SPECIAL
                 CONDITIONS
                 INSTALL FLOWLINE
 P19960479       BULKHEAD REFURBISHMENT AND MITIGATION                                                                       I....




 P19960490       PROPOSED MAINTENANCE DREDGE, LITTLE LAKE
 P19960753       PRODUCTION BARGE
 PI 9961504      LL E
                    & F 36
                        - 37
                           & CANAL MAINTENANCE
 P19961508       PROPOSED MAINTENANCE                                               DREDGE, LAFOURCHE & JEFFERSON
                 PROPOSED SPOIL PLACEMENT, BAYOU PEROT, JEFFERSON
 P19961630       CONSTRUCT VALVE BOX ON TIMBER PILIES
 P19971546       CATHODIC PROTECTION SYSTEM & ANODE GROUND BED
 P19971962       NO DOCUMENTS
 P19990462       DREDGE



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                  PROPWASH
                   SPOIL

P19991118 i PROPWASH
                   WELL

P19991314_j DREDGE
                  REPAIR LEV
             r
P20000666          CLEANO

                  LL E
                     & SL 16709 WELL 1;
                                     # PROPOSED DRILLING STRS
P20000984          6"FLOWLINE //FLOWLINE //NONE TO 11' BLW ML //BEGIN: RISER
                  PLATFORM @ SL 16709 91 // END: EXISTING PLATFORM RISER)
                                                                   (
                   COMPANY:THE LOUISIANA LAND & EXPLORATION COMPANY
                   STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20010315          SL 2383 WELL 9;
                                # DRILLING BARGE & STRUCTURES
P20010725         DRILLING STRUCTURES

P20 0-----
      11122
       .          WELL
                  I    STRUCTURES: SL 2383
                    ........               002
                                           #
                                        ....._..                                                              .     ...-------

P20011269         30 CRUDE OIL VARIES
                                 //      TO 30' BLW MUDLINE BEGIN:
                                                            //     THREE
                  MILE LINE //END: CLOVELLY MODULE FACILITY
                  COMPANY:ENDYMION OIL PIPELINE COMPANY, LLC // STATUS:
                  AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20011421         6" PIPELINE
                     //       // 3' MIN BLW MUDLINE //BEGIN: SL 2383 WELL 2
                                                                          #
                  END: WASKEY PLATFORM // COMPANY:PHOENIX OIL & GAS, LTD.,

                  j LLP // STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS j
                  INSTALL THREE 6"PIPELINES AND STRUCTURES TO SERVE SL 2383
                  2
                                                                                                                  I_




                  WASKEY PLATFORM; 50' ...
P20011422         6" PIPELINE
                     //       //3' MIN BLW MUDLINE //BEGIN: SL 2383 WELL 2
                                                                         #
                  END: EXISTING FACILITY //COMPANY:PHOENIX OIL & GAS, LTD.,
                  LLP // STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20011423         6" PIPELINE
                     //       // 3' MIN BLW MUDLINE //BEGIN: SL 2383 WELL 42
                  END: WASKEY PLATFORM // COMPANY:PHOENIX OIL & GAS, LTD.,
                  LLP      Sr ATUS: A -

                  WASKEY PLATFORM; 100' X 100' PROPOSED
P20011573         SL 2383 WELL 9,
                               # DRILL BARGE & STRUCTURES
P20020579         DREDGE / EXCAVATION
                  SPOIL

P20 021475
    ----   j DREDGE
                  SPOIL

                  WELLSTRUCTURES
P20021734         6" FLOWLINE
                     //       //3' MIN BLW MUDLINE //BEGIN: SL 17613 WELL NO
                   1 // END: EXISTING PLATFORM // COMPANY:CLAYTON WILLIAMS
                  ENERGY, INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                  CONDITIONS
                  HEATER PLATFORM
                  STORAGE PLATFORM
P20030191         TIDE & WATER      LEVEL STATION; BAYOU PEROT/RIGOLETTES
P2003047          DREDGING FOR ACCESS TO SL 2561 NO 1
                  LIMESTONE PAD FOR WELL SITE
                  SPOIL

                  SPOIL AREA 1



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                             SPOIL AREA 2
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                             WELL SITE
    P20030481                DREDGE

                             SPOIL

    P20030796                8" PIPELINE
                                 //      MAINTENANCE // 3' MIN BLW MUDLINE //BEGIN:
                             VENICE PLANT //END: FAUSTINA FACILITY //COMPANY:CHEVRON
                             PIPELINE COMPANY // STATUS: AUTHORIZATION GRANTED -
f                            SPECIAL CONDITIONS
    P20040976                4t
                              "
    P20041443                4 "" // FLOWLINE //3' MIN BLW ML //BEGIN: 4 "" RISER // END. 4
i                        3I RISER // COMPANY:BADGER OIL CORPORATION // STATUS:
                            AUTHORIZATION GRANTED - SPECIAL CONDITIONS"
                             12" //
                                 PIPELINE MAINTENANCE/REPLACEMENT AS NEEDED //
                             UNKNOWN //BEGIN: MANILA JUNCTION //END: LAROSE STATION //
                             COMPANY:EXXONMOBIL PIPELINE COMPANY // STATUS:
                             AUTHORIZATION
                                   - . -. -.. GRANT -SPECIAL CONDITIONS
    P20041589                16" //
                                  PIPELINE MAINTENANCE/REPLACEMENT AS NEEDED //
                             UNKNOWN BEGIN:
                                        //      MANILA JUNCTION // END: LAROSE STATION
                             COMPANY:EXXONMOBIL PIPELINE COMPANY // STATUS:
                             AUTHORIZATION GRANT --

                             DRILL BARGE STRUCTURES
                                         /          SL 18146 NO 2 WELL
    P20041605                SL 18146 WELL 1
                                           # DRILL BARGE & STRUCTURES

                             6" PIPELINE
                                //       // 3' MIN BLW ML //BEGIN: SL 18146 WELL NO 1 // END.
                             EXISTING BARGE // COMPANY:CHROMA OPERATING, INC. //
                             STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
    P20050145                HEATER PLATFORM
    P20 050175
        .....-               WEIR
                             PROPWASH

    P20051285                STRUCTURES STRIKE KING PROSPECT
    P20060275                SITE CLEARANCE SL 2453 10
                                                    #  &1OD
                             2" FLOWLINE
                                //       // 3' MIN BLW ML //BEGIN. PROPOSED HEATER
                             PLATFORM //END: PROPOSED PRODUCTION BARGE //
                             COMPANY:ENERGY XXI GOM, LLC // STATUS: AUTHORIZATION
                             GRANTED - SPECIAL CONDITIONS
                         a
                             4" FLOWLINE
                                //       // 3' MIN BLW ML //BEGIN: PROPOSED HEATER
                             PLATFORM //END: PROPOSED PRODUCTION BARGE
                             COMPANY:ENERGY XXI GOM, LLC // STATUS: AUTHORIZATION
                             GRANTED - SPECIAL CONDITIONS
                             HEATER PLATFORM

    P2006099                 WELL CRIBBING, SL 18146 NO. 2
                             4" FLOWLINE
                                //       //3' MIN BLW ML //BEGIN. PROPOSED BARGE // END.
                             EXISTING PLATFORM // COMPANY:MARLIN ENERGY OFFSHORE,
                             LLC //STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS

                             PLATFORM 16'
                                      ( X22
                             PRODUCTION BARGE,WATER BARGE, WALKWAY                                                                                    w.._




    P20070226                SPOIL
                             LOCATION SL 2453 B NO 22 WELL
    P20070233                PROPWASH

                             DRILL BARGE SL 2453 B NO 23
                         v     ...


    P20070301                PROPWASH SLIP



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                BULKHEAD REMOVAL

                BULKHEAD, PLATFORM & VALVE REMOVAL
P20070372       CAM ANOMALY SITE REPAIR 24
                                        ( ")
P20070736       LITTLE LAKE PIPELINE REPAIR 16
                                            ( ")
                DREDGE

            i RE ENTRY
                 -     LL E
                          & NO 36 WELL
P20070779       SPOIL
                4" SWD
                   //  FLOWLINE //BORED 20' BLW ML //BEGIN: BARGE AT
                WELL NO 1 // END: WELL NO 1 // COMPANY:MARLIN COASTAL, LLC
                 STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20071016       INSTALL SWD PIPELINE SL18010 NO 1 TO WICHITA RIVER SWD
                INJECTION WELL
P20071543       3" FLOWLINE
                   //       //Y MIN BLW ML //BEGIN: PROPOSED HEATER
                PLATFORM //END: EXISTING METER PLATFORM //
                COMPANY:SOUTHERN BAY OPERATING, LLC // STATUS:
                AUTHORIZATION GRANTED - SPECIAL CONDITIONS

                ACCESS ROUTE NO
                             (  DREDGING)
P20071623       SL 2453 NO 25 WELL LOCATION & STRUCTURES
                PROPWASH
                SL 2383 NO 9 WELL RE ENTRY
                                     -
P20071740       SPOIL PLACEMENT
            1

                PROPWASH & STRUCTURES
                SL 2453 NO 24 WELL LOCATION & STRS
P20071742       SPOIL PLACEMENT
                3 1/
                   2" FLOWLINE
                      //       //UNKNOWN //BEGIN: JEFF SCH LD SL 2453 NO
                23/25 WELLS // END: EXISTING NORTH HALF FACILITY //
                COMPANY:JGC ENERGY DEVELOPMENT USA)
                                               (   INC. //STATUS:
                AUTHORIZATION GRAN                                -
                                                                  SPECIA CONDITIONS

P20071748       INSTALL 7 FLWOLINES TO SERVE SL2354 23,
                                                    NOS.2
                                                        1 5,
                3 1/2" FLOWLINE
                       //       //UNKNOWN /BEGIN:
                                            /     JEFF SCH LD SL 2453
                END: EXISTING GAS LIFT PLATFORM // COMPANY:JGC ENERGY
                DEVELOPMENT USA)
                            (   INC. //STATUS: AUTHORIZATION GRANTED -
                SPECIAL CONDITIONS
P20071749       3 1/2" FLOWLINE
                       //       //UNKNOWN //BEGIN: JEFF SCH LD SL 2453 //
            T END: EXISTING NORTH HALF FACILITY //COMPANY:JGC ENERGY
                DEVELOPMENT USA)
                            (   INC. //STATUS: AUTHORIZATION GRANTED -
                SPECIAL CONDITIONS
P20071751       3 1/2" FLOWLINE
                       //       //UNKNOWN //BEGIN: JEFF SCH LD SL 2453
                END: EXISTING GAS LIFT PLATFORM // COMPANY:JGC ENERGY
                DEVELOPMENT USA)
                            (   INC. //STATUS: AUTHORIZATION GRANTED -
                SPECIAL CONDITIONS

P20071752          ENERGY NORTH FACILITY PLATFORM 200 X 200
P20071773       SOUTH FACILITY EXPANSION: PLATFORM
                3 1/
                   2" FLOWLINE
                      //       //UNKNOWN //BEGIN. EXISTING GAS LIFT
                PLATFORM //END: EXISTING NORTH HALF FACILITY //
                COMPANY:JGC ENERGY DEVELOPMENT USA)
                                               (   INC. //STATUS:
                AUTHORIZATION GRANTED                              SPECIAL CONDITIONS




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                    3 1/2" FLOWLINE
                           //        //UNKNOWN //BEGIN: EXISTING SOUTH HALF
                    FACILITY //END: EXISTING GAS LIFT PLATFORM // COMPANY:JGC
                    ENERGY DEVELOPMENT USA)
                                       (   INC. //STATUS: AUTHORIZATION
                     GRANTED - SPECIAL CONDITIO
                          1...---.




                    3.5" FLOWLINE
                         //       // 3' 5' MIN BLW`MUDLINE //BEGIN: EXISTING
                    SOUTH HALF FACILITY //END: EXISTING GAS LIFT PLATFORM //
                     COMPANY:JGC ENERGY DEVELOPMENT USA)
                                                    (   INC. //STATUS:
                    AUTHORIZATION GRANTED - SPECIAL CONDITIONS
                              W_---.-




       P20071774    REPLACE AND ADD FLOWLINES, JETTING ACTIVITIES
                    1 3 1/2" REPLACEMENT
                             //          SWD LINE //UNKNOWN //BEGIN: JEFF SCH
                     SL 2453 NO 12 // END:NORTH HALF FACILITY //COMPANY:JGC
                    ENERGY DEVELOPMENT USA)
                                       (   INC. //STATUS: AUTHORIZATION
                     GRANTED - SPECIAL CONDITIONS
                    3 1/
                       2" REPLACEMENT
                            //             SWD LINE //UNKNOWN //BEGIN: JEFF SCH
                    SL 2453 SWD NO 11 // END:NORTH HALF FACILITY //COMPANY:JGC
                    ENERGY DEVELOPMENT USA)
                                       (   INC. //STATUS: AUTHORIZATION
                    GRANTED SPECIAL
                            -       CONDITIONS
       P 20080068
         -          REPLACE SWD FLOWLINE FROM SL2453 WELL NO 12.
       P20080072    WELL RE-ENTRY: SL 2383 NO 002
                    PROP WASHING
       P2008073      STRIKE KING PROSPECT & STRUCTURES

       P20080737    WELL LOCATION: SL 2453 NO 26 WELL
                    CLEANOUT & SPOIL
       P20080739     SL 19864 NO 1 WELL LOCATION & STRS
                    PROPWASH SLIP TO ACCESS WELL NO 27
       P20080752     SL 2453 NO 27 WELL LOCATION & STRS

                    CLEANOUT & SPOIL AT SL 19333 NO 1 WELL
       P20080766     SL 19333 NO 1 WELL LOCATION & STRS
                    4" FLOWLINE
                       //       //T MIN BLW ML //BEGIN: SL 2453 NO 21 WELL
                    END: EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
                    USA),
                        INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                    CONDITIONS
                    4" FLOWLINE
                       //       //3' MIN BLW ML //BEGIN. SL 2453 NO 4 WELL //END
                    EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
                    USA),
                        INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                    CONDITIONS
i ..............
                    4" FLOWLINE
                        //        //3' MIN BLW ML //BEGIN: SL 2453 NO 8 WELL //END:
                    EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
                    USA),
                        INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                    CONDITIONS
                    4" GAS
                       //  LIFT LINE //3' MIN BLW ML //BEGIN: SL 2453 NO 21 WELL
                    END: EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
                    USA),
                        INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                    CONDITIONS

       P20080767    4" GAS
                       //  LIFT LINE //3' MIN BLW ML //BEGIN: SL 2453 NO 8 WELL //
                    END: EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
                    USA),
                        INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
                    CONDITIONS




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             4" GAS
                //   LIFT LINE // 3' MIN BLW ML //BEGIN: SL 2453 NO 16 WELL
             END: EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
             USA),
                 INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
             CONDITIONS

P20080844    4" GAS
                // LIFT LINE // 3' MIN BLW ML //BEGIN: SL 2453 NO 18 WELL //
             END: EXISTING FACILITY //COMPANY:JGC ENERGY DEVELOPMENT
             USA),
                 INC. //STATUS: AUTHORIZATION GRANTED - SPECIAL
             CONDITIONS

P20081005    3 1/2" GAS
                    //  LIFT LINE //UNKNOWN //BEGIN: JEFF SCH LD SL 2453
             SWD NO 1 WELL //END: EXISTING NORTH HALF FACILITY //
             COMPANY:JGC ENERGY DEVELOPMENT USA),
                                            (   INC. //STATUS:
             AUTHORIZATION GRANTED - SPECIAL CONDITIONS
             2" GAS
                //  LIFT LINE //                        BEGIN: TP 1 -2 RB SUA; SL 19908 NO 1 WELL
             END:NORTHHALF FACILITY //COMPANY:JGC ENERGY
             DEVELOPMENT USA),
                         (   INC. //STATUS: AUTHORIZATION GRANTED -
             SPECIAL CONDITIONS
P20081265    3" FLOWLINE
                //       //                   BEGIN: TP 1 -2 RB SUA, SL 19908 NO 1 WELL
             END:NORTHHALF FACILITY //COMPANY:JGC ENERGY
             DEVELOPMENT USA),
                         (   INC. //STATUS: AUTHORIZATION GRANTED -
             SPECIAL CONDITIONS
             SITE CLEARANCE 400' RADIUS: LL & EF WELL 20
                                                      #
P20081276    SITE CLEARANCE. LL TP 2B RB                                                                     SU;LL &EF WELL 20
                                                                                                                            #
             PROPWASH FOR ACCESS TO STRIKE KING WELL 2
                                                     #
             STRIKE KING WELL 42 & STRUCTURES

P20081284    UNKNOWN //PIPELINE // T MIN BLW MUDLINE //BEGIN: 29:
                                                                N
             90:END: 29;:;;:
                      //
                       30' 55 N
                              " 90':W
                                    08'24" COMPANY:
                                             // JGC
             ENERGY DEVELOPMENT USA),
                                (   INC. //STATUS: AUTHORIZATION
            L GRANTED - SPECIAL CONDITIONS
             2" FLOWLINE
                //         // 1.
                               0'-
                                 3.0' BLW ML //BEGIN: J FISHER HEIRS NO 1
             WELL //END: EXISTING RISER AT PRODUCTION BARGE
             COMPANY:JGC ENERGY DEVELOPMENT USA)
                                            (   INC. //STATUS:
             AUTHORIZATION GRANTED - SPECIAL CONDITIO
r   -
             4" FLOWLINE
                //       // 1.
                             0'-
                               3.0' BLW ML //BEGIN: J FISHER HEIRS NO 1
             WELL //END: EXISTING RISER AT PRODUCTION BARGE
             COMPANY:JGC ENERGY DEVELOPMENT USA)
                                            (   INC. //STATUS:
            1 _ AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20081372 i LINE .HEATER
                  .. . ---- . - PLATFORM
                                ----     & WALKWAY
             SHELL PAD FOR COMPRESSOR BARGE & CLUSTERS
P20081560    SPOIL PLACEMENT
             4     //
                    FLOWLINE //               BEGIN: RISER AT SL 19864 NO 1 WELL FACILITY
                 END: RISER AT SL 2453 NO 22 WELL // COMPANY:JGC ENERGY
             DEVELOPMENT USA),
                         (   INC. //
                                   STATUS: AUTHORIZATION GRANTED -                                                                                                                                                                                                           j
             SPECIAL CONDITIONS
P20090148    HEATER PLATFORM: 32' X 40' &94' WALKWAY TO WELL

             HYDRAULIC DREDGING
                        GING -                           11   -----------   .........   .   ...................................................................................................................................




             SPOIL LOCATION
             SWD WELL NO 001 LOCATION & STRS
P20090173    WELL NO 001 LOCATION & STRS




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P20090262          HYDROSTATIC TEST FOR EXISTING 4"PL // NOT A PIPELINE //
                   BEGIN: PRESSURE END FOR 4 PL
                                             "  //END: PLUGGED END FOR 4 PL"
                   COMPANY:JGC ENERGY DEVELOPMENT USA),
                                                  (   INC. //STATUS:
                   AUTHORIZAT GRANT -NO CONDITIONS
                   PLUG & REPAIR BREACHES. POINT 1
                                                 #
                   PLUG & REPAIR BREACHES: POINT 2
                                                 #
               r
                   PLUG & REPAIR BREACHES: POINT 3
                                                 #
P20090276          PLUG & REPAIR BREACHES: POINT 94

                   SOV - SITE CLEARA AT SL 2453 NO 19 WELL(186240)
                   SOV SITE CLEARANCE AT SL 2453 NO 5 WELL 055352)
                                                           (
P200               SOV - SITE CLEARANCE AT SL 2453 NO3 D
                                                       - WELL(053709)
                   BULKHEAD 16
                            #  (
                               132') WASHOUT
                                     &       REPAIR ON LINE 40
P20090737          BULKHEAD 17
                            #                (
                                            116') WASHOUT
                                                  &                                          REPAIR ON LINE 40
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SIT 78
                                                                #
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 79
                                                                #
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 80
                                                                #
               REPAIRS TO EXISTING 12 16"
                                      "/ PIPELINE: DIG SITE 81
                                                            #
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 482
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 483
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 84
                                                                #
                   REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 485
P20090836          REPAIRS TO EXISTING 12 16"
                                          "/ PIPELINE: DIG SITE 86
                                                                #
P20091027          3" FLOWLINE
                      //       //ABN ON PIPERACK //BEGIN SL 19041 NO 1 WELL //
                   END: METER STATION // COMPANY:SOUTHERN BAY OPERATING,
                   LLC // STATUS AUTHORIZATION GRANTED                                                                  SPECIAL CONDITIONS
                   2" GAS
                      //  LIFT LINE //                        BEGIN: SL 2453 NO 28 WELL //END: SL 2453
                   NO 22 WELL // COMPANY:JGC ENERGY DEVELOPMENT USA),
                                                                (   INC.
                   STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
                   3" FLOWLINE
                      //       //                   BEGIN. SL 2453 NO 28 WELL //END: SL 2453 NO 22
                   WELL // COMPANY:JGC ENERGY DEVELOPMENT USA),
                                                          (   INC.
                   STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20091284          HEATER PL 32'X40'&
                                    PIPEWALK TO WELL 27
P20100042 j 4" FLOWLINE
               //       // 3' MIN BLW MUDLINE //BEGIN: EXISTING STRIKE
                   KING FACILITY //END: EXISTING SOUTH HALF FACILITY
                   COMPANY:JGC ENERGY DEVELOPMENT USA),
                                                  (   INC. //STATUS:
               AUTHORIZATION GRANTED - SPECIAL CONDITIONS
                   HEATER PLATFORM & WALKWAY

P20100106          SEPARATOR PLATFORM
P20100491          4" FLOWLINE
                      //       // 3' MIN BLW ML //BEGIN. SL 2453 NO 14 WELL //
                   END: EXISTING SOUTH HALF FACILITY //COMPANY:JGC ENERGY
                   DEVELOPMENT USA),
                               (   INC. //STATUS: AUTHORIZATION GRANTED -
                   SPECIAL CONDITIONS
P20100738          BULKHEAD REMOVAL
P20100994          WELL LOCATION & STRS: SL 24 NO 26
                   6" FLOWLINE
                      //       //5' MIN BLW ML //BEGIN: HILCORP ENERGY INC
                   END: COMPRESSOR STATION // COMPANY:CASTEX ENERGY, INC.
                   STATUS: AUTHORIZATION GRANTED - SPECIAL CONDITIONS

P20101191          IN STALL FLOWLINES, 2 TEMPORARY WORKSPACES
                   DREDGING & SPOIL




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P20101590        STRUCTURES TO R ENTER
                                  -    SL 245 WELL NO 20
P20110235        24"AREA
                     (   WIDE) //EXISTING CAM PIPELINE // BURIED 3' 8' BLW ML
                   BEGIN: CLOVELLY //END: MURPHY REFINERY //
                 COMPANY:PLAINS PIPELINE, LP // STATUS: AUTHORIZATION
                 GRANTED - SPECIAL CONDITIONS
                 SANDBAG PLACEMENT: 12"PL INSPECTION SITE
P20110623 j SANDBAG PLACEMENT: 16"PL INSPECTION SITE
P20110669        2.5" GAS
                      //  LIFT LINE // 3' MIN BLW ML //BEGIN: GAS LIFT
                 PLATFORM // END: SL 2453 NO 1 WELL // COMPANY:JGC ENERGY
                 DEVELOPMENT USA),
                             (   INC. //STATUS: AUTHORIZATION GRANTED -
                 VATFGRAN .

                 ANOMAL REPAIR:CAM PL: SITE 3
P20110763        EXCAVATION & SPOIL PLACEMENT SITE 3

                 PRO. .. ... ......
P20111046        WELL LOCATION. SL 19 NO 1
             PIPELINE                       . . ..
P20111552        PIPELINE REPAIR 16
                                 (                     ") DIG SITE 6#
P20120197        2" GAS
                    //  LIFT LINE                   //    BEGIN: E 4
                                                                   - RA VUE; SL 2453 NO 8 D
                                                                                          - WELL //
                 END: VUB JEFF SCH LD SL 2453 NO 21 WELL //COMPANY:JGC
                 ENERGY DEVELOPMENT USA),
                                    (   INC. //STATUS: AUTHORIZATION
                 GRANTED - SPECIAL CONDITIONS
P20120453        PIPELINE REPAIR SITE 9
                                      #
             N/A //
                  EXISTING PIPELINE //4' BLW ML LOWERED)
                                                (                                                               //BEGIN:   END:
                   COMPANY:JGC ENERGY DEVELOPMENT USA),
                                                  (   INC. //STATUS:
                 RECEIVED - ON HOLD
                 PROP
P20120682        STRUCTURES SL 2383 NO 9 WELL
                 EXISTING STRUCTURES TO BE REPLACED
P20120734        WORK SITE: 40'X250'
P20120745    2" EXISTING
                 //      GAS LIFT LINE //3' BLW ML //BEGIN: GAS LIFT
             PLATFORM //END: SL 2453 NO 1 WELL // COMPANY:JGC ENERGY
                 DEVELOPMENT USA),
                             (   INC. //STATUS: AUTHORIZATION GRANTED -
                 VATF GRANTED
P20120989        4" SWD
                    //  LINE //                 BEGIN: JEFF SCH LD SL 2453 NO 16 WELL //END.
             JEFF SCH LD SL 2453 NO 23 WELL // COMPANY:JGC ENERGY
             DEVELOPMENT USA),
                         (   INC. //STATUS: AUTHORIZATION GRANTED -
                 SPECIAL CONDITIONS
P20121122        WELL RE-ENTRY: SL 2383 NO 002
P20121200    PIPELINE REMEDIATION
             2" PIPELINE
                //       // 3'-
                              8' BLW ML & LAID ON MARSH //BEGIN: LL E
                                                                    &
             WELL NO 1 // END: LAFITTE NORTH LITTLE LAKE FACILITY
             COMPANY:HILCORP ENERGY COMPANY // STATUS:
             AUTHORIZATION GRANTED - SPECIAL CONDITIONS
P20121280    4" PIPELINE
                //       // T-8' BLW ML & LAID ON MARSH //BEGIN: LL E
                                                                    &
             WELL NO 1 // END: SL 16709 WELL NO 1 // COMPANY:HILCORP
            ENERGY COMPANY // STATUS: AUTHORIZATION GRANTED -
                 SPECIAL CONDITI
P20121291    4       SWD LINE //                BEGIN: JEFF SCH LD SL 2453 NO 1 WELL //END:
             EXISTING SOUTH HALF FACILITY //COMPANY:JGC ENERGY
             DEVELOPMENT USA),
                         (   INC. //STATUS:AUTHORIZATION GRANTED -
                 SPECIAL CONDITIONS


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         6" FLOWLINE
            //       // 3' BLW ML //BEGIN: SL 2383 WELL NO 2 // END:
         EXISTING PLATFORM // COMPANY:SHORELINE SOUTHEAST, LLC
         STATUS: AUTHORIZATION GRANTED - SPE CONDITIONS
P20131   INSTALL 2 FLOWLINES TO SERVE SL.
                                       . 2383 WELL NO 2




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         Oil & Gas   Wells Operated by Defendants and their Predecessors
               within the Operational Area by
                                           ( LDNR Well Serial No.)




BABY OIL,INC.
204577                         226326


EQUITABLE PETROLEUM CORP.
52447                          59327                                                              178612
52892                          59356                                                              181408
53406                          62600                                                              185118
54070                          66217                                                              186240
54256                          67735                                                              188422
54257                          67884                                                              190939
54410                          67888                                                              191762
54411                          68145                                                              194397
54461                          68347                                                              202727
55352                          68509                                                              204711
55782                          170818                                                             205744
56988                          171373                                                             207900
57619                          175440                                                             213501
58882                          176644


EXXON CORPORATION

34620                          53202                                                              91267
44364                          53203                                                              92521
45064                          53766                                                              92527
45405                          56856                                                              92532
45658                          57937                                                              92584
46456                          60055                                                              92773
47439                          62077                                                              93122
47534                          62858                                                              94460
47934                          63623                                                              94568
48331                          64462                                                              96408
48538                          65038                                                              96409
48539                          65388                                                              96410
48689                          65485                                                              96411
48781                          66196                                                              96412
48796                          68206                                                              96772
48797                          69026                                                              97366
48889                          69311                                                              98608
49465                          69644                                                              99894
49466                          70359                                                              103458
49569                          71318                                                              120190
49632                          71899                                                              120678
49633                          73861                                                              126231
50339                          75888                                                              127032
50415                          76853                                                              128157
50861                          88114                                                              131047
50986                          88115                                                              131048
51413                          89815                                                              170112
51682                         91122                                                               174253
51927                         91249                                                               180598
52530                          91251                                                              181291


GRAHAM OIL AND GAS,LTD.
170987                         173981                                                             182962
171316                         176933


GULF REFG CO

37024                         37747



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          Oil & Gas  Wells Operated by Defendants and their Predecessors
               within the Operational Area bv
                                           ( LDNR Well Serial No.)


HUMBLE OIL AND REFINING CO.

46391                           52448                                                             67190
46441                           53201                                                             68206
48083                           53262                                                             69645
48626                           53328                                                             91250
48688                           53765                                                             118433
48690                          54258
50943                           59665


LA.LAND & EXPL. CO.

155008                         209243                                                             225882
155616                         224643


PERRY R.BASS

52331                          57330                                                              60675
53709                          57802                                                              94360
56411                          59837


RICHARDSON & BASS     LA
                      (  ACCT)ETAL
50767                          60455                                                              69198
56665                          62614


SHELL OIL COMPANY

60974


TEXACO, INC.
30298                          163970                                                             166390
135224                         166307


THE CALIFORNIA COMPANY

35738                          101728                                                             109305
36257                          108732
42654                          108865


THE SUPERIOR OIL COMPANY

43355


THE TEXAS COMPANY

57408


UNION EXPL, PARTNERS, LTD.
70938                          72827


VINTAGE PETROLEUM,INC.
45064                          89815
45658                          97366
46456                          174253
49466                          180598
50861                          181291
65388                         217915
68206
69026
71899
76853



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                                     EXHBTT G

                 Aerial Photographs of Pits within the Operational Area

                                 Pits Outlined in RED)


1971 Aerial                                 SEC 22 TSHP
                                                   -    18S RNG
                                                            -   23E]



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             Aerial Photographs of Pits within the Operational Area

                             Pits Outlined in RED)


1978 Aerial                             SEC 30 TSHP
                                               -    17S RNG
                                                        -   23E]




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                                                                      Little Lake and Little Temple

                                 EXHIBIT G

             Aerial Photoeraphs of Pits within the Operational Area

                             Pits Outlined in RED)


1978 Aerial                             SEC 8 TSHP
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                                  EXIMIT G

           Aerial Photoerapbs of Pits within the Operational Area

                              Pits Outlined in RED)



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